                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF OHIO

In re:                                        )      CASE NO: 22-50323

                                              )      CHAPTER
LARRY STEFFEE                                 )
                                              )      JUDGE ALAN M. KOSCHIK
                                              )
Debtor(s)                                     )

     TRUSTEE’S NOTICE OF INTENT TO PROCEED WITH 341 MEETING OF
  CREDITORS BY VIDEO CONFERENCE AND PROCEDURES REGARDING SAME

         PLEASE TAKE NOTICE that the Trustee intends to proceed with the Meeting of Creditors

provided for under 11 U.S.C. § 341 in the above captioned case on the following originally

scheduled date and time:

         Date: May 16, 2022

         Time: 10:30 a.m.

The Meeting of Creditors will not take place in person. The Meeting of Creditors will be held

virtually, by video conference.

         PLEASE TAKE FURTHER NOTICE that the Virtual 341 Meeting of Creditors, at the
time and date set forth above, will be held using Zoom.

Meeting ID: 921 2213 6733
Password: 266940
Dial in by phone 1-312-626-6799 and enter meeting id and password.
Please register for meting prior to meeting date by using the link:

https://zoom.us/meeting/register/tJYsdeuprT0tGdeqbr5dLcSthcO087W40ZTm

         PLEAST TAKE FURTHER NOTICE that creditors wishing to participate may obtain

access to the connection details by contacting the Trustee or counsel for the debtor.




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       PLEASE TAKE FURTHER NOTICE that the Trustee strongly encourages video

appearance by Debtor(s) and Debtor(s)’ counsel from a device connected to the internet with a

camera and microphone enabled.

       PLEASE TAKE FURTHER NOTICE that the virtual 341 Meeting of Creditors will be

electronically recorded. To ensure the quality of the record, please be sure to limit any background

noise. Participants must be able to hear all parties for the entirety of the virtual 341 Meeting of

Creditors.

   PLEASE TAKE FURTHER NOTICE that the Trustee will verify the identity of the Debtor(s)

appearing by video conference by asking Debtor(s) to show photo identification and evidence of

the Debtor(s)’ social security number at the commencement of the virtual 341 Meeting of

Creditors. For Debtor(s) appearing by audio means only, Debtor(s)’ attorney must (1) confirm on

the record that counsel reviewed proof of the Debtor(s) identity by viewing the Debtor(s)’ valid

ID (stating what the ID is, e.g. Valid Driver’s License), the name on the ID matches the name on

the petition (if it doesn’t, the debtor will need to testify an explain, e.g. married name has changed,

etc.), based thereon, the debtor testifying is the person whose name is on the petition as the debtor;

(2) confirm on the record that counsel reviewed proof of the debtor’s SSN (stating what was used

to verify the SSN, e.g. original social security card) and that it matches what was reported to the

court in this bankruptcy case; and (3) transmit to the Trustee at least two days in advance of the

Virtual 341 Meeting a completed Counsel Declaration Confirming Debtor Identity and Social

Security Number. An acceptable form of Declaration is available from the Trustee upon request.

Counsel is responsible for the logistics of completing this requirement.

   PLEASE TAKE FURTHER NOTICE that the following information must be submitted to the

Trustee through his document management system, Stretto, by no later than 4:00 p.m. the Friday




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before the above meeting date:


    •    Statements encompassing the petition date for all of the Debtor(s)’ depository accounts
         open on the petition date
    •    A copy of the Debtor(s)’ most recently filed federal and state tax returns

         PLEASE TAKE FURTHER NOTICE that failure to comply with the above procedures

shall be deemed a failure to appear at the 341 Meeting of Creditors.



                                                       /S/ Harold A. Corzin
                                                       HAROLD A. CORZIN, (#0005021)
                                                       CHAPTER 7 TRUSTEE
                                                       304 N. Cleveland-Massillon Road
                                                       Akron, Ohio 44333
                                                       (330) 670-0770 Voice
                                                       (330) 670-0297 Facsimile
                                                       Hcorzin@corzinlaw.com


Cc: all entities and individuals who are listed on the Court's Electronic Mail Notice List




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